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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No.: 1:21-cr-00670-CJN-1
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                                            ORDER

       Upon consideration of the Government’s Motion for Protective Order and to Disclose

Grand Jury Testimony, the Opposition to Government’s Motion for Protective Order and to

Disclose Grand Jury Testimony, and the entire record in the case, and pursuant to the Court’s

authority under Fed. R. Crim. P. 6 and Fed. R. Crim. P. 16, it is hereby ORDERED that:

       (1) the Government’s Motion is DENIED; and

       (2) the Government may disclose the transcripts and related exhibits of witness testimony

          presented to the grand jury that returned the indictment in this case to the defense.



Dated: November ____, 2021

                                                    ____________________________________
                                                    Hon. Carl J. Nichols
                                                    United States District Judge
